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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 MIKARA, LLC,                                      CIVIL ACTION NO. 3:16-cv-10021

                        Plaintiff,

 v.

 FIDELITY NATIONAL TITLE
 INSURANCE COMPANY,

                        Defendant.




                                STIPULATION OF DISMISSAL

       The parties to the above-captioned action, pursuant to the provisions of Fed. R. Civ. P.

41(a)(1)(A)(ii), hereby stipulate that the action, inclusive of all claims and counterclaims, be

dismissed with prejudice. The parties further agree to waive all rights to appeal, and agree to bear

their own costs.

 Counsel for the Plaintiff,                        Counsel for the Defendant,
 MIKARA, LLC                                       FIDELITY NATIONAL TITLE
 By its Attorneys,                                 INSURANCE COMPANY
                                                   By its Attorneys,

 /s/ Jeffrey K. O’Connor                           /s/ Douglas L. Whitaker
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Dated: April 6, 2017
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                                CERTIFICATE OF SERVICE

        I, Jeffrey K. O’Connor, do hereby certify that a true copy of the above document was filed
through the Court’s ECF system on April 6, 2017 and will be sent by electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and by electronic mail.



                                                     /s/ Jeffrey K. O’Connor
                                                     Jeffrey K. O’Connor
